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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                EASTERN DIVISION

DEISY JAIMES, et al.,                         )
                                              )
               Plaintiffs,                    )
                                              )      Case No. 17 CV 8291
       v.                                     )
                                              )
COOK COUNTY, et al.,                          )      Honorable Jorge L. Alonso
                                              )      Magistrate Judge Sidney I. Schenkier
               Defendants.                    )

      DEFENDANTS COOK COUNTY AND SHERIFF THOMAS J. DART’S
   AMENDED RESPONSE TO PLAINTIFFS’ REQUEST FOR PRODUCTION NO. 9

       Defendants Cook County and Thomas J. Dart, Sheriff of Cook County, in his official

capacity (“Defendants”), by one of their attorneys, Elizabeth A. Ekl of Reiter Burns LLP, amend

their response to Plaintiffs’ Request First Set of Requests for Production of Documents, as follows:

        9.      Full and unredacted copies of any insurance policies, contracts, or indemnification
agreements that could or might provide coverage to any of the Defendants for any of the allegations
in Plaintiffs’ Complaint.

       ANSWER:         Defendants object to this Request as over broad, unduly burdensome, and

not proportional to the needs of the case. Subject to and notwithstanding the objections, on

November 15, 2015, Cook County was self-insured for settlements and judgments up to and

including $ 15,000,000.00. During that time, Cook County maintained excess insurance policies

with Ironshore (File# ISCP-9346A1), AXIS (File#: ATL159053), Allied World (File#:

2018024049) and National Casualty (File#: 01856372).
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Dated: February 21, 2019             Respectfully submitted,

                                     /s/ Elizabeth A. Ekl
                                     One of the attorneys for Defendants Cook County
                                     and Sheriff Thomas J. Dart

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                                 CERTIFICATE OF SERIVCE

       I hereby certify that on February 21, 2019, I caused the foregoing Defendants’

Supplemental Responses to Plaintiffs’ Requests for Production No. 9 to be transmitted by

electronic mail to be delivered to the following:

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                                                    s/ Elizabeth A. Ekl
